      Case 4:06-cr-00281-BSM          Document 225        Filed 06/18/08     Page 1 of 4




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

PEGGY HILL                                                                       PETITIONER

v.                               CASE NO. 4:06-CR-00281-01 GTE
                                          (4:08-CV-00274)

UNITED STATES OF AMERICA                                                        RESPONDENT

                                            ORDER

       Presently before the Court is Petitioner Peggy Hill’s Motion under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence filed on April 1, 2008.

I.     BACKGROUND

       On January 4, 2007, Petitioner and her counsel appeared before this Court, and pursuant

to a written plea agreement, waived indictment, and entered a plea of guilty to Count One of a

Superseding Information. The Superseding Information charged Petitioner with conspiracy to

knowingly and intentionally manufacture at least 50 grams, but less than 500 grams, of a mixture

or substance containing methamphetamine, a Schedule II controlled substance, in violation of 18

U.S.C. §§ 841(a)(1), (b)(1)(B) and 846. The Court dismissed Count 1 of the Indictment1 as to

Petitioner upon motion of the Government. On April 2, 2007, the Court sentenced Petitioner to

80 months’ imprisonment, 4 years of supervised release with conditions, and $100 special

assessment.




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        Petitioner was initially charged in Count 1 of a two-count Indictment with conspiracy to
knowingly and intentionally manufacture more than 500 grams of a mixture or substance
containing methamphetamine, a Schedule II controlled substance, in violation of 18 U.S.C. §§
841(a)(1), (b)(1)(A) and 846.

                                                1
       Case 4:06-cr-00281-BSM              Document 225         Filed 06/18/08       Page 2 of 4




II.     MOTION

        In her motion, Petitioner asserts that her counsel provided per se ineffective assistance by

failing to file a direct appeal as she requested, or alternatively, for failing to at least file a “no

merits” Anders brief. In her affidavit, Petitioner states:

        6.         On that same day [the day of sentencing], when I told [Mr. Larkowski]
                   that I wanted to appeal, he strongly advised against it [] by convincing me
                   that “I faired pretty well considering that I could end up with more time if I
                   tried.
        7.         Before the end of the first week after sentencing, I called him at his office
                   and told him that I really felt I should appeal. He told me that before he
                   could anything, “he needed more money first.”
        8.         Since I didn’t have any more money, I thought there was nothing I could
                   do about it and didn’t know who or where to turn for legal advise [sic].
        9.         I did then and do now, wish to proceed with a direct appeal of the issues
                   and claims raised in my Motion to Vacate, as well as any other claims that
                   different and competent counsel may advise.2

        In Roe v. Flores-Ortega, 528 U.S. 470, 480, 120 S. Ct. 1029, 1036 (2000), the United

States Supreme Court held “that counsel has a constitutionally imposed duty to consult with the

defendant about an appeal when there is reason to think either (1) that a rational defendant would

want to appeal (for example, because there are nonfrivolous grounds for appeal), or (2) that this

particular defendant reasonably demonstrated to counsel that he was interested in appealing.” “In

making this determination, courts must take into account all the information counsel knew or

should have known.” Id. “Although not determinative, a highly relevant factor in this inquiry

will be whether the conviction follows a trial or a guilty plea, both because a guilty plea reduces

the scope of potentially appealable issues and because such a plea may indicate that the defendant

seeks an end to judicial proceedings.” Id. “Even in cases when the defendant pleads guilty, the



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            Exhibit 5 ¶ 6-9, Petitioner Affidavit, Petitioner’s Motion..

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       Case 4:06-cr-00281-BSM           Document 225         Filed 06/18/08       Page 3 of 4




court must consider such factors as whether the defendant received the sentence bargained for as

part of the plea and whether the plea expressly reserved or waived some or all appeal rights.” Id.

“Only by considering all relevant factors in a given case can a court properly determine whether a

rational defendant would have desired an appeal or that the particular defendant sufficiently

demonstrated to counsel an interest in an appeal.” Id.

       “The second part of the Strickland test requires the defendant to show prejudice from

counsel's deficient performance.” Id. at 481. “[T]o show prejudice in these circumstances, a

defendant must demonstrate that there is a reasonable probability that, but for counsel's deficient

failure to consult with him about an appeal, he would have timely appealed.” Id. at 484.

       In response, the Government asserts that Hill “never asserts that she asked her counsel to

file an appeal on her behalf.” Rather, the Government state that “it can be inferred that Hill

discussed the potential of appealing with her counsel because she states that he ‘strongly advised

against’ appealing.” The Government contends that Hill merely sought her counsel’s opinion as

to appealing the sentence, which amounts to a mere conclusory allegation lacking any support in

the record.

       The Government does not note the existence of Petitioner’s sworn affidavit in which she

states that she told her counsel that she “wanted to appeal” and later called his office and told

him that she “really felt [she] should appeal.” The Court questions whether the Government has

any basis to dispute the facts set forth in Petitioner’s affidavit. If not, the Court would be

inclined to grant Petitioner relief by way of allowing Petitioner to appeal. See Parsons v. Untied

States, 505 F.3d 797 (8th Cir. 2007) (“[A] lawyer who disregards specific instructions from the

defendant to file a notice of appeal acts in a manner that is professionally unreasonable[;]


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       Case 4:06-cr-00281-BSM          Document 225       Filed 06/18/08      Page 4 of 4




defendant is entitled to a new appeal without showing that his appeal would likely have merit.”).

If, however, the Government has evidence to contradict Petitioner’s affidavit, the Court would

likely hold an evidentiary hearing to determine the facts surrounding the issue. The Government

is directed to file a statement with the Court indicating whether such evidence exists. The Court

requests that the Government respond to this Order not later than July 1, 2008.

       IT IS SO ORDERED THIS 18th day of June, 2008.


                                                    /s/Garnett Thomas Eisele___________
                                                    UNITED STATES DISTRICT JUDGE




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